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                                   STATEMENT OF FACTS

        Your affiant,                              , is a Special Agent assigned to the Houston
Division of the Federal Bureau of Investigation. In my duties as a special agent, I investigate
national security matters and various other federal crimes. Currently, I am tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a Special
Agent, I am authorized by law or by a Government agency to engage in or supervise the prevention,
detection, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                  Identification of TIMOTHY TEDESCO

       On January 12, 2021, the FBI National Threats Operations Center received a tip from an
individual (Tipster-1) that TIMOTHY TEDESCO had entered the U.S. Capitol on January 6, 2021.
Tipster-1 indicated that he/she learned from a close acquaintance of TEDESCO that TEDESCO
could be seen in a video taken on January 6 standing outside the U.S. Capitol on the east side,
waiving a Texas state flag. Tipster-1 also indicated that TEDESCO was wearing his work jacket
on January 6, and that TEDESCO was employed at the Occidental Chemical Company, located in
Corpus Christi, Texas. Tipster-1 stated that he/she was told by TEDESCO’S acquaintance that
TEDESCO had stood in proximity to Ashli Babbitt when she was shot inside the U.S. Capitol.

       I reviewed open-source images and video footage from inside and outside the U.S. Capitol
on January 6, including numerous publicly available videos showing an individual wearing a blue
jacket with an Oxy Chem Ingleside Plant logo (Oxy Chem is the abbreviated name of Occidental
Petroleum).




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          Images 1 and 2: TEDESCO wore his work jacket from Occidental Petroleum (“Oxy
                       Chem”) at the U.S. Capitol on January 6, 2021

       I also reviewed video footage in which the individual in the blue jacket with the Oxy Chem
logo admitted to being inside the Capitol and standing near Ashli Babbitt when she was shot.

        For comparison purposes, FBI Houston obtained the Texas driver’s license photograph of
TEDESCO. I determined that the image in TEDESCO’S driver’s license very closely resembled
the images of the rioter (see Image 1 above and Image 3 below) who carried a Texas flag and wore
the blue jacket with the Oxy Chem logo.




        Image 3: The FBI compared TEDESCO’s driver’s license with images taken at the riot
                                     on January 6
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        Your affiant met and spoke with TEDESCO at his residence in Corpus Christi, Texas, on
February 3, 2021 for roughly ten minutes. Based on TEDESCO’S physical features, I assessed that
the images of TEDESCO captured in this investigation are a positive match with the TEDESCO
who I met at the residence. During the meeting, TEDESCO admitted to being at the U.S. Capitol
on January 6, 2021, and stated that he had carried a flag. TEDESCO advised that he did not engage
in any violence on January 6, 2021, but that he did observe a father and son break a glass window
with a hammer. TEDESCO asked if agents were investigating the “girl who got shot” or the “stolen
election” and then terminated the interview.

       I reviewed the results of a database search and learned that TEDESCO was employed by
and received wages from Oxy Chem in the first quarter of 2021, and that TEDESCO was still an
employee as of the second quarter of 2023.

                      TEDESCO’S Involvement in the Events of January 6, 2021

       The affiant reviewed open-source and CCV footage of the U.S. Capitol from January 6,
2021. Open-source video shows TEDESCO before the breach of the barricades on the east front
of the U.S. Capitol, listening to an audio broadcast of the electoral vote counting, and then
cheering with the crowd when a U.S. lawmaker objected to the counting of the electoral votes
from Arizona.




          Image 4: TEDESCO behind intact police barricades on the east side of the Capitol
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     Open-source video also shows TEDESCO outside the southeastern door by the House
Chamber where he observed other rioters hit and break the glass on the door. Seconds later,
TEDESCO observed two different rioters break a glass window a few yards away.




  Image 5: TEDESCO observed two rioters hit and crack the glass on the southeastern door.




           Image 6: TEDESCO observed two different rioters break the glass on a window.
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       United States Capitol Police (“USCP”) CCV captured TEDESCO entering the U.S. Capitol
through the southeastern door by the House Chamber at approximately 2:42 p.m.




               Image 7: TEDESCO entered the U.S. Capitol at approximately 2:42 p.m.

       Tedesco was captured again on open-source and USCP CCV at approximately 2:55 p.m.,
when he could be seen leaving the U.S. Capitol through the same door at which he entered. Tedesco
was inside the U.S. Capitol for roughly 12-13 minutes.
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                Images 8 and 9: TEDESCO exited the U.S. Capitol at roughly 2:55 p.m.

      After exiting the Capitol, TEDESCO remained near the southeastern door by the House
Chamber, where he had conversations that were captured on open source video about the rioters
who had broken the glass on the doors and windows.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
TEDESCO violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempt or conspire to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.
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